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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 1:21-cv-21079-BB


   SECURITIES AND EXCHANGE COMMISSION,

          Plaintiff,
   v.

   MINTBROKER INTERNATIONAL, LTD.,
   f/k/a SWISS AMERICA SECURITIES LTD.
   and d/b/a SURETRADER, and
   GUY GENTILE, a/k/a GUY GENTILE NIGRO,

          Defendants.


        DEFENDANT GUY GENTILE’S MOTION TO STRIKE LETTER FILED BY
               UNREPRESENTED, NONPARTY PHILIP DORSETT
                  AND MEMORANDUM OF LAW IN SUPPORT

         Defendant Guy Gentile moves to strike the recent letter filed by unrepresented, nonparty

  Philip Dorsett, ECF No. 183 (“Nonparty Dorsett Letter”), and states in support:

         1.      The Federal Rules of Civil Procedure and this Court’s Local Rules contemplate

  that the only persons permitted to make filings with the Court are parties represented by counsel

  or pro se litigants. See Commodity Futures Trading Comm’n v. Oasis Int’l Grp., Ltd., No. 8:19-

  CV-886-VMC-SPF, 2022 WL 1136571, at *2 (M.D. Fla. Apr. 18, 2022); S.D. Fla. L.R. 1.1

  (“When used in these Local Rules, the word ‘counsel’ shall be construed to apply to a party if

  that party is proceeding pro se.”); S.D. Fla. L.R. 11.1(g) (“Each member of the Bar of the

  Southern District, any attorney appearing pro hac vice, and any party appearing pro se shall

  maintain current contact information with the Clerk of Court.”).

         2.      The Eleventh Circuit has made clear that a district court has the “inherent ability”

  to police its docket, including—at one end of the spectrum—the “ability to dismiss a claim in
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  light of [the court’s] authority to enforce its orders and provide for the efficient disposition of

  litigation.” See Zocaras v. Castro, 465 F.3d 479, 483 (11th Cir. 2006) (citing Link v. Wabash R.R.,

  370 U.S. 626, 630–31 (1962)). “Where non-parties file unauthorized documents, . . . courts have

  found that this [inherent] authority extends to striking the offending documents.” Oasis Int’l

  Grp., 2022 WL 1136571, at *3 (collecting cases).

          3.       Philip Dorsett is the former Chief Compliance Officer of Defendant MintBroker

  International, Ltd. (“SureTrader” or the “Company”). At all relevant times, Dorsett has lived and

  worked in the Bahamas. See Nonparty Dorsett Letter at 1. Dorsett is not a party to this lawsuit

  and is not represented by counsel in connection with this case. He is a witness under the control

  of Plaintiff Securities and Exchange Commission (the “SEC” or the “Agency”). See id. (“. . . I

  am a witness . . . for the Securities and Exchange Commission.”). As an unrepresented nonparty,

  Dorsett is not permitted to file documents on the docket; accordingly, his recent letter to the

  Court should be stricken. E.g., Oasis Int’l Grp., 2022 WL 1136571, at *3.1

          4.       Lest there be any doubt that Dorsett’s unauthorized, nonparty filing should be

  stricken, Gentile briefly addresses Dorsett’s letter on the merits. Both Dorsett and the SEC have

  maintained throughout this case that he is a “whistleblower.” Indeed, Dorsett’s purported

  “whistleblower” status was already well documented in the public record of this case prior to

  March 21, 2023, when Gentile filed a Motion for Sanctions for Spoliation of Evidence under

  Rule 37(e) based on Dorsett’s testimony under oath at his February 28, 2023 deposition that he

  “deleted” relevant documents and that his email was subsequently “hacked.” See ECF No. 173

  (“Motion for Sanctions”).


  1
    The Nonparty Dorsett Letter also includes no citation to legal authority, in contravention of the Court’s Local
  Rules. See Robinson v. Requejo, No. 20-CV-61067, 2021 WL 5534873, at *1 (S.D. Fla. Oct. 20, 2021) (noting the
  “the requirement to file a ‘memorandum of law’ in accordance with Local Rule 7.1(c)(1)”), report and
  recommendation adopted, No. 20-CV-61067-RAR, 2021 WL 5514607 (S.D. Fla. Nov. 24, 2021).


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         5.      For example, during a hearing in open court over eight months ago on August 1,

  2022—which was attended by other nonparties and members of the press—counsel for the SEC

  stated: “What we call the TCRs that were submitted by the two former employees, for the first

  one, Mr. Dorsett, was in August of 2017, and for the second, Mr. Frantz, was submitted in March

  of 2018.” See Ex. A, Tr. 47:6–9. Counsel for the SEC continued: “Your Honor, [TCR] stands for

  tips, complaints, and referrals. . . . So both of these individuals submitted TCRs. As I stated, the

  first one in August of 2017, Mr. Dorsett, and Mr. Frantz in March of 2018.” Id. at 48:20–49:5.

         6.      At another hearing in open court on January 9, 2023, almost three months ago,

  counsel for the SEC stated: “[W]e are talking about two former employees who we stipulated are

  whistleblowers . . . . 11,000 [emails] from Mr. Dorsett and 33,000 from Mr. Frantz.” See Ex. B,

  Tr. 18:7–23; see also id. at 27:21–22 (“They’re whistleblowers. They did file TCRs, tips,

  complaints and referrals with the agency.”); id. at Tr. 38:8–9 (“When Mr. Dorsett filed his

  whistleblower complaint, he was still an employee of the company.”).

         7.      In other words, Gentile’s recently filed Motion for Sanctions did not disclose

  anything about Dorsett’s purported “‘whistleblower’ status” that was not already public

  knowledge. See Nonparty Dorsett Letter at 2. Moreover, Dorsett did not indicate on his TCR that

  he was submitting it anonymously.

         8.      Liberally construed, perhaps Dorsett in his unauthorized, nonparty filing seeks to

  invoke the antiretaliation provisions for whistleblowers codified by the Dodd–Frank Wall Street

  Reform and Consumer Protection Act (“Dodd–Frank”), Pub. L. No. 111-203, 124 Stat. 1376

  (2010). But at all relevant times Dorsett has lived and worked in the Bahamas, and those

  provisions do not apply extraterritorially. Liu Meng-Lin v. Siemens AG, 763 F.3d 175, 183 (2d

  Cir. 2014) (“[T]here is no explicit statutory evidence that Congress meant for the antiretaliation




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  provision [of Dodd–Frank] to apply extraterritorially, and none of the tangential indications of

  extraterritorial application elsewhere in Dodd–Frank to which Liu points are sufficiently

  germane or cogent to overcome the presumption against extraterritoriality.”); Ulrich v. Moody’s

  Corp., 721 F. App’x 17, 19 (2d Cir. 2018) (unpublished) (summary order) (affirming dismissal

  of antiretaliation claim because Ulrich “was an overseas permanent resident working for a

  foreign subsidiary of Moody’s, and the alleged wrongdoing and protected activity took place

  outside the United States”).

          9.     Tellingly, the Nonparty Dorsett Letter mimics and follows closely on the heels of

  unfounded allegations levied by the SEC in its recent Motion to Strike Gentile’s Motion for

  Sanctions. See ECF No. 175. This is a case of public interest in the Bahamas, where the local

  legislature has enacted strict data-privacy laws that Dorsett violated when he stole or illicitly

  retained tens of thousands of SureTrader documents—files that included sensitive personal data

  of SureTrader clients—that he then disclosed to a foreign regulator outside the scope of any

  formal legal process.

          10.    That an independent reporter in the local Bahamian press—who has regularly

  covered SureTrader in the past—thinks this case is newsworthy does not support the SEC’s

  baseless accusation that Gentile “used [his Motion for Sanctions] to fuel a vengeful article in a

  newspaper” or that Gentile “weaponized the Motion for Sanctions in order to intimidate Mr.

  Dorsett.” Mot. Strike at 2. The SEC continues, in a tone wholly unbefitting the U.S. government:

          It is clear that the Motion for Sanctions was filed was to intimidate a witness in this
          case and to allow Gentile to cite the Motion for Sanctions to the press where he can
          make any untruthful statement without repercussion. Gentile is not concerned that
          he filed a motion that is false or not grounded in a good faith basis under Rule 37.

  Id. at 9.




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           11.      Gentile will not rehash his prior papers here, but suffice it to say that Dorsett

  testified—under oath—that he “deleted” relevant emails and indicated they could not be

  recovered because he was subsequently “hacked.” See Mot. Sanctions, Ex. D (Dorsett

  testimony), ECF No. 173-4. The SEC objected to holding open Dorsett’s deposition, and now the

  SEC claims Dorsett has miraculously recovered all deleted emails. This is false, as confirmed by

  counsel for Gentile’s review of the recently purported recovered emails from Dorsett produced

  by the SEC.2

           12.      As just one of many examples, neither the SEC nor Dorsett has produced a

  January 8, 2014 email from Gentile to Dorsett at his Company email address

  (philip@suretrader.com) asking that Dorsett review and sign a draft affidavit regarding

  SureTrader’s compliance with U.S. laws on nonsolicitation of U.S. customers by foreign broker-

  dealers, the exact issue at the heart of this case. See Mot. Sanctions, Ex. H, ECF No. 173-8; see

  also id., Ex. G (signed affidavit), ECF No. 173-7.

           13.      Any consideration of the recently filed papers in this case should address the

  glaring omission of the January 8, 2014 email and other concrete examples of Dorsett’s

  spoliation of relevant evidence.

                                                   CONCLUSION

           For all the foregoing reasons, Gentile respectfully requests that the Court strike the

  unauthorized filing at ECF No. 183 made by unrepresented, nonparty Philip Dorsett and award

  any other relief the Court deems just and proper.




  2
   Dorsett also testified falsely at his deposition about several key events, including an entirely fabricated in-person
  meeting involving himself, Gentile, and Gentile’s ex-wife that Dorsett claimed occurred in February 2012.


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                               CERTIFICATION OF COMPLIANCE

           Pursuant to Local Rule 7.1(a)(3)(A), counsel for Gentile certify that they sought the

  SEC’s position on the relief requested in this Motion to Strike. The SEC indicated that it takes no

  position.

           Counsel for Gentile also wrote to unrepresented, nonparty Philip Dorsett at the email

  address included in his letter (pa.dorsett@gmail.com), informing Mr. Dorsett of Gentile’s

  intention to file this Motion and requesting that Dorsett confirm he objected to the relief sought.

  As of filing, Mr. Dorsett has not responded.



  Dated:      April 6, 2023                             Respectfully submitted,

                                                         /s/ Dayliset Rielo
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                                                        Counsel for Defendant Guy Gentile




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                                  CERTIFICATE OF SERVICE

         I hereby certify that I caused the foregoing Defendant Guy Gentile’s Motion to Strike,

  dated April 6, 2023, to be served via CM/ECF on the following counsel for Plaintiff:

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         I also hereby certify that I caused the foregoing Defendant Guy Gentile’s Motion to

  Strike, dated April 6, 2023, to be emailed to unrepresented, nonparty Philip Dorsett at

  pa.dorsett@gmail.com.


                                                                       /s/ Dayliset Rielo
                                                                      Dayliset Rielo, Esq.
